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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF COLORADO




      UNITED STATES OF AMERICA
                                                                          20-CR-00305-DDD
                                      Plaintiff,
                                                                [PROPOSED] ORDER OF MOTION
                                 v.
                                                                UNOPPOSED MOTION UPON
                                                                ATTORNEY DECLARATION
      MICHAEL AARON TEW,                                      SEEKING ORDER PERMITTING
      KIMBERLEY ANN TEW, and                                   TRAVEL BEYOND PRE-TRIAL
      JONATHAN K. YIOULOS                                   RELEASE ORDER AT PARAGRAPH 7(f)
                          Defendants.




        Now before the Court in this matter are Defendants, Mr. Michael Aaron Tew and Mrs.

 Kimberley Ann Tew, motion upon attorney declaration seeking order permitting travel beyond

 pre-trial release order at paragraph 7(f) of the motion. The order would permit the Tews to travel

 with their two young daughters to Los Angeles, California on September 23rd, 2021, and

 returning to the State of Colorado on September 27th, 2021, for a family vacation.

        Accordingly, Mr. and Mrs. Tew’s Motion is granted.

        IT IS SO ORDERED.




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 ___________________________             _______________________________________
 DATE                                    THE HONORABLE DANIEL D. DOMENICO
                                         UNITED STATES DISTRICT COURT JUDGE




 Presented by:

        /s/
 ______________________
 Tor Ekeland
 Attorney for Defendants Michael Tew and Kimberley Tew




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